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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE                 1:18-cv-11642-VM-DCF
INC.)

                           Plaintiff,             DECLARATION OF DEFENDANT
              -against-                           VINCENT WENYONG SHI IN SUPPORT
                                                  OF MOTION TO DISCHARGE THE
LINK MOTION INC. (F/K/A NQ MOBILE                 TEMPORARY RECEIVER AND
INC.), VINCENT WENYONG SHI, JIA                   DISSOLVE THE PRELIMINARY
LIAN,                                             INJUNCTION
XIAO YU,

                           Defendants,
              -and-

LINK MOTION INC. (F/K/A NQ MOBILE
INC.),

Nominal Defendant.


VINCENT WENYONG SHI declares, pursuant to 28 U.S.C. 1746, as follows:

1.     I am an Individual Defendant in the above-captioned action. I make this declaration in

support of my motion (i) to discharge Robert W. Seiden (the “Receiver”) in his capacity as

receiver for Link Motion Inc. f/k/a NQ Mobile Inc. (“LKM” or the “Company”); and (ii) to

dissolve this Court’s prior-issued preliminary injunction dated February 1, 2019.

2.     The receivership should be dissolved because (i) the derivative claims on which the Court

relied in appointing the Receiver have now been voluntarily dismissed by Plaintiff Wayne Baliga’s

(“Plaintiff” or “Baliga”); (ii) the allegations of misconduct on which the Court relied in

appointing the Receiver have now been refuted; and (iii) continuation of the receivership will

cause undue harm to the Company because Plaintiff now asserts only claims for money damages

and continuation of the receivership will result in significant damage to the Company. Moreover,
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the preliminary injunction should be dissolved because this is now an action for money damages

only that lacks an adequate showing of likelihood of success on the merits, or irreparable harm,

that would warrant a continuation of the preliminary injunction.

The key grounds relied on by the Court in appointing the receiver
and entering the preliminary injunction have been refuted:

3.     First, Baliga alleged that he was a shareholder with legal standing to sue derivatively (See

Dkt. Nos. 1, 65).

4.     In connection with the motion by China AI Limited (“China AI”) to intervene, China AI

submitted evidence demonstrating that Baliga was never a shareholder of LKM and only held

American Depositary Shares (“ADSs” and each individually, an “ADS”). Under the laws of the

Cayman Islands, which govern the internal affairs of LKM, holders of ADSs have no legal

standing to sue derivatively.

5.     Annexed hereto as Exhibits A, B, and C are true and correct copies of the register of

shareholders of LKM and the first and second declarations of Katharine L. B. Pearson, Esq.

Exhibits A, B, and C show that Baliga is not and has never been a shareholder with legal standing

to sue derivatively.

6.     Baliga has now withdrawn all of his derivative claims by failing to plead them in his

Second Amended Complaint (Dkt. No. 166).

7.     Second, Baliga alleged improper transfers of legacy business units of the Company (i.e.,

FL Mobile, SyberOS, Rideshare and Showself. (See ¶¶ 3, 4 of the Cilento Aff, (Dkt. 92) and

Memorandum of Law (Dkt. 94); see generally Complaint (Dkt. 1).

8.     The divestiture of the Company’s legacy interests in these business entities were duly

authorized by the Board in connection with the Company’s 2015 plan to divest its legacy assets.

(See generally Memorandum of Law (Dkt. 37); Reply Memorandum of Law (Dkt. 62; ¶¶33-43);



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Proposed Complaint in Intervention (Dkt. 124); see also 2015 Form 20-F, at p. F-8 filed with

Securities and Exchange Commission (“S.E.C.”) 1; 2016 Form 20-F, at pp.39-40 filed with S.E.C.2).

9.      Baliga’s allegation that the shares of these entities were improperly transferred is factually

incorrect. Because of its VIE structure, the Company never owned shares of any of these entities.

The Company’s only interest in those entities was by way of contracts (“Control Documents”)

that gave to the Company contractual rights to control and receive the economic benefits of those

businesses. Throughout the entire time the Company has had an interest in FL Mobile and

Showself, the holders of shares of those companies have held them as mere nominees with no right

to vote the shares or to receive economic benefits.

10.     The Share Purchase Agreement with Tongfang Investment Fund Series SPC (“Tongfang”)

for the sale of FL Mobile and Showself was publicly disclosed as exhibit 4.33 to LKM’s 2016

annual report filed with the S.E.C. 3 Annexed hereto as Exhibit D is a true and correct copy of the

Share Purchase Agreement. The contract provides that the equity interests in FL Mobile would be

transferred to Tongfang for “US$1.”

11.     Baliga’s allegations about my ownership of shares of FL Mobile and Showself are also

incorrect because I held shares of those entities only as a nominee for the benefit of the Company.

Annexed hereto as Exhibit E is a true and correct copy of the Supplemental Agreement, dated

March 31, 2017, between the Company and Tongfang. As stated in section 2.1 of the

Supplemental Agreement, “[t]he parties agree and acknowledge that, NQ has hereby agreed to

entrust SHI Wenyong to hold its legal shares in FL Mobile and Showself (the “Entrusted Shares”)

before the Closing of the Share Purchase Transactions, and SHI Wenyong agrees to accept NQ’s

entrustment to hold these Entrusted Shares on behalf of NQ.”

1
  https://www.sec.gov/Archives/edgar/data/1509986/000119312516532382/d158137d20f.htm
2
  https://www.sec.gov/Archives/edgar/data/1509986/000119312517137511/d346488d20f.htm
3
  https://www.sec.gov/Archives/edgar/data/1509986/000119312517137511/d346488dex433.htm


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12.     As stated in section 2.3 of the Supplemental Agreement, “SHI Wenyong shall follow the

instructions from NQ . . . to exercise the shareholder’s rights of the Entrusted Shares.” The purpose

of this arrangement was to permit Tongfang time necessary to establish its own VIE structure in

order to close the transactions.

13.     Baliga has also withdrawn all claims based on the “SyberOS” and “Rideshare” transactions

alleged in the Verified Shareholder Derivative Complaint and First Amended Shareholder

Derivative Complaint by failing to plead them in the Second Amended Complaint (Dkt. No. 166).

14.     Third, Baliga alleged that Shi conspired to use Company funds to finance China AI’s 2018

purchase of shares of the Company. (See pp.8-9 of Memorandum of Law in opposition to motion to

intervene (Dkt. 141).

15.     In opposition to the motion by China AI to intervene, Baliga also alleged that Shi and

China AI had conspired to secrete assets of the Company through a payment to a bank in

Luxembourg. (See Dkt. No. 141, at pp.4-6). Baliga’s allegations were based on letters from the

Receiver setting forth his conclusions based on his so-called “investigation.” Yet the investigation

was wholly deficient, and the conclusions were meritless because the Receiver did not present all

of the facts.

16.     Specifically, in the Receiver’s letter dated May 2, 2020 (Dkt. No. 142-1), and Plaintiff’s

Memorandum of Law dated May 4, 2020, Baliga falsely alleged that I orchestrated a scheme to

divert $10 million of Company funds by way of a payment to the Luxembourg branch of China

Merchants Bank Ltd (“China Merchants Bank”). These allegations are false because the payment

referenced by Plaintiff and the Receiver was made with Company funds to pay a legitimate

obligation the Company owed to China Merchants Bank.

17.     In or around June and July 2016, the Company became obligated to repurchase its 4.00%




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Convertible Senior Notes due October 15, 2018 (the “Notes”).4 This fact was disclosed in the

Company’s 20-F annual report.5 The Company was obligated to repurchase these notes in United

States Dollars, but most of LKM’s cash reserves were held in Chinese Renminbi (“ RMB”).6

18.     Due to the severe restrictions in the Peoples’ Republic of China (the “PRC”) governing

conversion of RMB denominated funds into foreign currencies (e.g., the U.S. Dollar), the

Company entered into loan agreements with the Luxembourg branch of China Merchants Bank,

which required the Company to pledge its RMB cash to the Beijing branch of China Merchants

Bank as security for loans from the Luxembourg branch denominated in U.S. Dollars for the

purpose of repurchasing the Notes.

19.     The loan agreements with China Merchants Bank specifically mention repurchase of the

Notes and required that the Company repay these loans to the Luxembourg branch on or before

July 31, 2018. 7

20.      Once repaid, the Beijing branch returned to the Company the RMB cash pledged for the

loan.

21.     Annexed hereto as Exhibits F, G, H and I are true and correct copies of loan documents

and accounting vouchers evidencing the disbursement of loan proceeds and repayment in full in

July 2018. These documents show that the allegations made by Baliga and the Receiver about the

payment to China Merchants Bank lack any basis in fact or law.8

22.     Although Baliga (and the Receiver) incorrectly paint this transaction as suspicious, without

any documentary support, these payments were nothing more than a commonplace international



4
  See Hua Decl., at ¶¶ 35-48; Ex. G.
5
  See Hua Decl., at ¶ 38; Ex. G.
6
  See id.
7
  See Hua Decl., at Ex. H, at § 2, and Ex. I.
8
  See Hua Decl., at Exs. H, I, J, K.


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loan transaction for the purpose of obtaining foreign currency necessary to satisfy corporate

obligations. (See Dkt. No. 155, at ¶¶35-48 of Hua Decl.)

23.    Fourth, Baliga alleged that Shi stole $88 million from the Company’s PRC subsidiaries

(see July 17, 2020 letter from Receiver and exhibits thereto. (Dkt No. 161).

24.    These allegations are without basis in fact or law because the payments referenced by the

Receiver in his July 17, 2020 letter were payments made for the legitimate corporate purpose of

repaying a corporate loan obligation. (See letter and attachments at Dkt. 159, 159-1, 159-2, 159-3).

25.    Annexed hereto as Exhibits J, K, L and M are true and correct copies of my counsel’s letter

dated July 22, 2020 and the exhibits thereto, which show that this payment was made for a

legitimate corporate purpose.

The receivership has caused great harm to the Company.

26.    Beginning in 2019, the Receiver took possession of the Company’s accounts in Hong Kong,

as well as the Company’s accounts with Apple and Google. Based on my recollection, I estimated

that altogether these accounts had cash value equivalent to approximately US$2 million at the time

the Receiver gained access to them.

27.    However, the Receiver, through his agent, Guo, began to shut down the operations of the

Company in the PRC.9 These actions resulted in judgments being entered against the Company in

favor of former employees seeking wages in the approximate amount of ¥1,083,286. Instead of

paying these judgments using the Company funds, Guo appealed them without any basis in law or

fact.10 Predictably, the judgments have now been affirmed. 11

28.    I am now informed that all of the Company funds have been spent. But none of the funds



9
  See Hua Decl., at ¶¶ 49-68, 74-75.
10
   See Hua Decl., at ¶¶ 63-67; Exs. P, Q, R, S.
11
   See Hua Decl., at Exs. P, Q, R, S.


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obtained by the Receiver were used to pay the former employees.

29.     These harms to the Company are wholly attributable to the Receiver, who retained Guo to

act on his behalf in the PRC. (See Dkt. No. 71).

30.     Since March 2019, Guo has been the only Chairman and legal representative of the

Company’s PRC operating companies. 12 As such, only Guo, and no one else, can act legally on

behalf of those entities.

31.     It was, therefore, Guo’s wrongful decision to appeal the judgments, which led to the

predictable denial by the appeals court. Guo and the Receiver have had access to the Company’s

other bank accounts and social media accounts for some time 13 and, therefore, could have paid the

Company’s former employees. Instead, they have been paying themselves from Company funds. 14

32.     Further, the commencement of this action by Baliga, appointment of the Receiver and entry

of the preliminary injunction, prevented the Company from completing its obligations to Tongfang

with respect to the agreement to sell FL Mobile and Showself. Once the Receiver was appointed

and the preliminary injunction entered on February 1, 2019, the FL Mobile and Showself shares

were frozen and could not be transferred to Tongfang in accordance with the terms of the Share

Purchase Agreement.

33.     In April 2019, Tongfang commenced an arbitration against the Company and me to rescind

the purchases of FL Mobile and Showself (the “Tongfang Arbitration”). I am informed that the

Receiver has told the Court that he intervened in this arbitration. But it appears that is untrue and

the arbitrator granted Tongfang’s request for recission without opposition, meaning that these sale



12
   See Hua Decl., at ¶¶ 63-67; Exs. P, Q, R, S.
13
   See Hua Decl., at ¶¶ 58-60; see, e.g., Dkt. Nos. 78 (July 1, 2019 order authorizing Receiver to
disburse funds for expenses), 97 (September 19, 2019 order authorizing Receiver to disburse funds
for expenses), 100 (September 25, 2019 order directing Google to submit funds to the Receiver).
14
   See id.


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of these business units is terminated and the Company will be obligated to return to Tongfang the

consideration it paid to the Company.

34.     As a result of Baliga’s and the Temporary Receiver’s improper and baseless interference

with the Company’s ability to transfer the shares to Tongfang, the arbitrator issued an award

against the Company and me, jointly and severally, 15 in the amount of RMB 2,520,000.

Annexed hereto as Exhibit N is a true and correct copy of the award.



I state under penalty of perjury under the laws of the United States of America that the foregoing is

true and correct.

Dated: November 3, 2020

                                                                      __________________
                                                                      Vincent Wenyong Shi




15
  I was named as a respondent in the arbitration because I personally guaranteed the Company’s obligations under the
Share Purchase Agreement in order to induce Tongfang to pay the agreed upon consideration for the sale of FL Mobile
and Showself.


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